                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:11-cr-75

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
ARILEYDA AMPARO (1)                      )
________________________________________ )


       THIS MATTER is before the Court upon the defendant’s Motion for Revocation of

Magistrate Judge’s Detention Order, pursuant to 18 U.S.C. § 3145(b), (Doc. No. 103), and the

government’s response, (Doc. No. 105).

       The defendant was indicted with others on March 15, 2011, for an alleged $2,500,000 tax

refund fraud conspiracy. (Doc. No. 37: Indictment). The defendant was detained by a magistrate

judge after a hearing on October 26, 2011. (Doc. No. 99: Order). At the hearing, the government

proffered that the defendant fled to the Dominican Republic with her children upon learning that

law enforcement agents had a warrant for her arrest. Defense counsel noted the defendant

notified the government when she planned to return to the United States and has no previous

criminal history. The magistrate judge found that the defendant’s eight-month fugitive status,

coupled with no current residence and employment, established by a preponderance of the

evidence that there was a serious risk that the defendant would not appear as required. (Doc. No.

99: Order).

       A district court is required to make an independent, de novo determination when acting on

a motion to revoke or amend a magistrate judge’s pretrial detention order. United States v.

Stewart, 19 F. App’x 46, 48 (4th Cir. 2001)(citing United States v. Rueben, 974 F.2d 580, 585-86

(5th Cir. 1992). However, a district court is not required to hold an additional evidentiary hearing


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as part of its review. United States v. King, 849 F.2d 485, 489-90 (11th Cir. 1988); United States

v. Hare, 873 F.2d 796, 799 (5th Cir. 1989). After conducting its independent review, a district

court may explicitly adopt the magistrate judge’s order without making duplicate findings or may

state additional reasons supporting pretrial detention. King, 849 F.2d at 490-91.

        Here, the Court has carefully conducted a de novo review of the evidence presented

before the magistrate judge and the entire record in this case. The Court finds the magistrate

judge’s factual findings and legal conclusions were correct. While a defendant is presumed

innocent until proven guilty, the proffered evidence against the defendant is strong and she faces

a lengthy sentence under the guidelines if convicted. 18 U.S.C. § 3142(g)(2). The defendant’s

flight with her children after actual notice of an outstanding warrant demonstrates both the ability

and willingness to avoid prosecution. 18 U.S.C. § 3142(g)(3). Additionally, her decision to

discontinue use of her cell phone on the day agents arrested co-defendants, which prevented

agents from tracking her, weighs against the effectiveness of conditions to assure her appearance

as required. Her strong family ties in the Dominican Republic and alleged use of false identity

information increase the chances that she could successfully leave the United States. Thus, the

Court adopts the magistrate judge’s Order of Detention Pending Trial (Doc. No. 99) in its

entirety.

        IT IS, THEREFORE, ORDERED that the defendant’s Motion to Revoke the Detention

Order (Doc. No. 103) is DENIED because the evidence establishes that no condition or

combination of conditions will reasonably assure the appearance of the defendant as required.




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       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation office.

                                                  Signed: December 21, 2011




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